                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
                      Plaintiff,             )
                                             )
vs.                                          )       Case No. 12-00378-01-CR-W-GAF
                                             )
ALBERTO MANUEL PIGGOTT,                      )
                                             )
                      Defendant.             )

                                             ORDER

       On September 25, 2014, defendant entered a plea of guilty to Counts One, Two, Three,

Seven, Nine, and one count of criminal forfeiture of the Indictment before United States

Magistrate Judge Robert E. Larsen. On September 27, 2014, Judge Larsen issued his Report and

Recommendation (Doc. #135).

       Upon careful and independent review, this Court finds that defendant’s plea was

knowledgeable and voluntary and that the offense charged is supported by an independent basis

in fact containing each of the essential elements of such offense. Accordingly, this Court hereby

adopts and incorporates as its own Opinion and Order the Report and Recommendation of

United States Magistrate Judge Robert E. Larsen.

       Accordingly, it is hereby ORDERED that defendant’s plea of guilty is accepted and

defendant is adjudged guilty. The parties will be advised of the date of the sentencing hearing.

SO ORDERED.

                                                     s/ Gary A. Fenner
                                                     GARY A. FENNER, JUDGE
                                                     UNITED STATES DISTRICT COURT

DATED: October 14, 2014




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